                                                                                                                    Form:ntctfclm

                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan
                                              211 West Fort Street
                                                Detroit, MI 48226


                                                  Case No.: 21−47551−lsg
                                                        Chapter: 7
In Re: (NAME OF DEBTOR(S))
   Top Shelf Barber Supplies LLC
   fdba Top Shelf Brands
   5938 Hickory Tree Trail
   Bloomfield Hills, MI 48301
Social Security No.:

Employer's Tax I.D. No.:
  46−5331116

            NOTICE OF NEED TO FILE PROOF OF CLAIM DUE TO RECOVERY OF ASSETS

NOTICE IS GIVEN THAT:

The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice
was sent, assets have been recovered by the trustee.

Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address above on or before:

                                                       June 26, 2024

Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate.

A Proof of Claim form ("Official Form 410") can be obtained at the United States Courts website:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. A proof
of claim may be mailed to the clerk's office for filing. If you wish to receive proof of its receipt by the bankruptcy
court, enclose a photocopy of the proof of claim together with a stamped, self−addressed envelope. A proof of claim
may also be filed electronically using the Electronic Proof of Claim (ePOC) program located on the Michigan Eastern
Bankruptcy Court's website: (https://www.mieb.uscourts.gov).

There is no fee for filing the proof of claim.

Any creditor who has previously filed a proof of claim in this case need not file another proof of claim.

Dated: 3/29/24
                                                                       BY THE COURT



                                                                       Todd M. Stickle , Clerk of Court
                                                                       U.S. Bankruptcy Court




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                                                              United States Bankruptcy Court
                                                               Eastern District of Michigan
In re:                                                                                                                 Case No. 21-47551-lsg
Top Shelf Barber Supplies LLC                                                                                          Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0645-2                                                  User: admin                                                                 Page 1 of 4
Date Rcvd: Mar 29, 2024                                               Form ID: ntctfclm                                                         Total Noticed: 54
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 31, 2024:
Recip ID                 Recipient Name and Address
db                     + Top Shelf Barber Supplies LLC, 5938 Hickory Tree Trail, Bloomfield Hills, MI 48301-1338
27088852               + AMERICAN EXPRESS, PO Box 6985, Buffalo, NY 14240-6985
27088882               + Alfaparf BIP Inc., 8200 NW 33rd St. Ste 109, Doral, FL 33122-1942
27088876                 Altus Global Trade Solutions, 2400 Veterans Blvd Ste 300, Kenner LA 70062 USA
27088835               + Amazon Capital Services, Inc., 2201 Westlake Ave, Seattle, WA 98121-2778
27088869               + Amazon Media Group LLC, 2021 7TH Ave, Seattle , WA 98121-2601
27088849               + Banc of America Leasing & Capital, LLC, c/o Robert Ajlouny (P35941), 370 E. Maple Road, Ste. 230, Birmingham, MI 48009-6303
27088871               + Bank of America, 100 N Tryon St, Charlotte, NC 28202-4036
27088853               + Brex, 405 Howard Street, San Francisco, CA 94105-2625
27088848               + CAPITAL ONE BANK (USA), MA., 965 Keynote Circle, Cleveland, OH 44131-1829
27088857                 Celtic Bank, 268 South Street, Suite 300, Salt Lake City, UT 84111 USA
27229557               + Charles S. Stahl, Jr., Swanson, Martin & Bell, LLP, 2525 Cabot Drive, Suite 204, Lisle, IL 60532-3628
27088866               + Dentons US LLP, 1221 Avenue of the Americas, New York, NY 10020-1001
27088859               + Derderian, Kann, Seyferth & Salucci, P.C., 3001 W. Big Beaver, Suite 700, Troy, MI 48084-3108
27130736                 FedEx Corporate Services Inc, 3965 Airways Blvd, Module G, 3rd Floor, Memphis, TN 38116-5017
27088836               + First Corporate Solutions Inc., 914 S STREET, Sacramento, CA 95811-7025
27088883               + Great Lakes Pension Associates, Inc., 37923 W. Twelve Mile Rd., Farmington Hills, MI 48331-3035
27088839               + GreatAmerica Financial Services Corporation, 625 First Street, Cedar Rapids, IA 52401-2030
27088880               + Johnny B Haircare, 6409 Gayhart St,, Commerce, CA 90040-2505
27088881               + Ken Nemec, 809 E. Superior, Wayland, MI 49348-9176
27088863               + King &, Sales and Distribution Company, Inc., PO. BOX 615, South Orleans, MA 02662-0615
27088838               + LEASE CORPORATION OF AMERICA, 3150 LIVERNOIS RD, SUITE 300, TROY, MI 48083-5000
27088875               + Lincoln & Morgan, 600 W Broadway Suite 700, San Diego, CA 92101-3370
27088858               + NatureLab, 5792 W. Jefferson Blvd., Culver City, CA 90016 USA 90016-3107
27088885               + Netsuite, 500 Oracle Parkway, Redwood Shores, CA 94065 USA 94065-1677
27088886               + Oracle, 2300 Oracle Way, Austin, TX 78741-1400
27088850               + Payability Commercial Factors, LLC, c/o WITTE LAW OFFICES, PLLC, 119 E. Kalamazoo St., Lansing, Michigan 48933-2111
27088860               + Pearl Cohen Zedek Latzer Baratz LLP, Times Square Tower, 7 Times Square, New York, NY 10036-6524
27088862               + Quench USA Detroit, 28223 Telegraph Rd., Southfield, MI 48034-7503
27088851               + RUBIES COSTUME COMPANY, INC, c/o GLASSEN, RHEAD, MCCLEAN, CAMPBELL &, 533 SOUTH GRAND AVE, LANSING,
                         MI 48933-2463
27088868               + Scarecrow, Inc., 431 Leoni Dr., Grover Beach, CA 93433-3041
27088845               + Spadafore Distributing Company, c/o H. Kirby Albright (P32363), 124 W. Allegan Street, Suite 1000, Lansing, MI 48933-1716
27088844                 Spin Master Ltd., 225 King Street W, Toronto, ON M5V 3M2 CANADA
27088842               + THE MONROVIA GROUP LLC, C/O SCOTT M. KWIATKOWSKI, 4000 TOWN CENTER, SUITE 1200, SOUTHFIELD, MI
                         48075-1413
27088843               + THINK OPERATIONS LLC, 174 Route 109, West Babylon, NY 11704-6221
27088861               + TIGI LINEA CORP, 1655 Waters Ridge Dr,, Lewisville, TX 75057-6013
27088837               + TOYOTA INDUSTRIES COMMERICAL FINANCE, 8951 CYPRESS WATER BLVD, SUITE 300, Coppell, TX 75019-4753
27088865               + Technology Concepts & Design, Inc., 4508 Weybridge Lane, Greensboro, NC 27407-7876
27229558               + Toyota Industries Commercial Finance, Inc., Charles S. Stahl, Jr., Swanson, Martin & Bell, LLP, 2525 Cabot Drive, Suite 204, Lisle, IL
                         60532-3628

TOTAL: 39



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District/off: 0645-2                                                  User: admin                                                                Page 2 of 4
Date Rcvd: Mar 29, 2024                                               Form ID: ntctfclm                                                        Total Noticed: 54
Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
27088870               + Email/Text: bankruptcynotices@amazon.com
                                                                                        Mar 29 2024 21:43:00      Amazon Services, 410 Terry Avenue, North
                                                                                                                  Seattle, WA 98109-5210
27088854               + Email/Text: bankruptcynotices@amazon.com
                                                                                        Mar 29 2024 21:43:00      Amazon.com, Inc., 410 Terry Avenue, North
                                                                                                                  Seattle, WA 98109-5210
27088873               ^ MEBN
                                                                                        Mar 29 2024 21:42:15      Bluevine, 401 Warren Street, Redwood City, CA
                                                                                                                  94063-1536
27088872                  Email/Text: Bankruptcy.RI@Citizensbank.com
                                                                                        Mar 29 2024 21:42:00      Citizens Bank, One Citizens Plaza,, Providence, RI
                                                                                                                  02903 USA
27088840               + Email/Text: Bankruptcynotice@cscglobal.com
                                                                                        Mar 29 2024 21:42:00      CORPORATION SERVICE COMPANY, PO.
                                                                                                                  BOX 2576, SPRINGFIELD, IL 62708-2576
27088879               + Email/Text: ddulworth@clarkhill.com
                                                                                        Mar 29 2024 21:43:00      Clark Hill, 200 Ottawa NW, Suite 500, Grand
                                                                                                                  Rapids, MI 49503-2426
27088887               + Email/Text: bankruptcy_notices@cmsenergy.com
                                                                                        Mar 29 2024 21:43:00      Consumers Energy, PO. Box 740309, Cincinnati,
                                                                                                                  OH 45274-0309
27088856                  EDI: JPMORGANCHASE
                                                                                        Mar 30 2024 01:30:00      JPMorgan Chase Bank, N.A., 270 Park Ave., New
                                                                                                                  York, NY 10017 USA
27088855                  Email/Text: bankruptcy@kservicing.com
                                                                                        Mar 29 2024 21:42:00      Kabbage Inc., 730 Peachtree St NE #1100,
                                                                                                                  Atlanta, GA 30308 USA
27445049               + Email/Text: schristianson@buchalter.com
                                                                                        Mar 29 2024 21:42:00      Oracle America, Inc., c/o Shawn M. Christianson,
                                                                                                                  Buchalter PC, 425 Market St., Suite 2900, San
                                                                                                                  Francisco, CA 94105-2491
27088847               + Email/Text: bankruptcy.notices@sunrisebanks.com
                                                                                        Mar 29 2024 21:42:00      Sunrise Banks North America, 200 University
                                                                                                                  Avenue West, Saint Paul, MN 55103-2074
27088874               + Email/Text: arbankruptcy@uline.com
                                                                                        Mar 29 2024 21:43:00      ULINE, 12575 Uline Dr., Pleasant Prairie, WI
                                                                                                                  53158-3686
27088864               + Email/Text: bankruptcy@ups.com
                                                                                        Mar 29 2024 21:43:00      UPS, 55 Glenlake Parkway, NE Atlanta, GA
                                                                                                                  30328-3474
27088877                  EDI: USBANKARS.COM
                                                                                        Mar 30 2024 01:30:00      US BANK, 800 Nicollet Mall Fl 2, Minneapolis,
                                                                                                                  MN 55402 USA
27088846               + Email/Text: bankruptcy@webbank.com
                                                                                        Mar 29 2024 21:42:00      WebBank, 215 South State Street, Suite 1000, Salt
                                                                                                                  Lake City, UT 84111-2336

TOTAL: 15


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Andrew R. Vara
27088841         *+            FIRST CORPORATE SOLUTIONS, 914 S STREET, SACRAMENTO, CA 95811-7025
27088884         ##+           Feedvisor LTD., 33 Irving Place, Floor 3, New York, NY 10003-2332
27088878         ##+           Lansing Board of Water & Lights, 1201 S Washington Ave,, Lansing, MI 48910-1650
27088867         ##+           The Rochester Law Center, PLLC, 543 N. Main Street, Ste. 222, Rochester, MI 48307-1485

TOTAL: 1 Undeliverable, 1 Duplicate, 3 Out of date forwarding address


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and



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belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 31, 2024                                       Signature:           /s/Gustava Winters




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 28, 2024 at the address(es) listed
below:
Name                            Email Address
Amanda Susan Wolanin
                                on behalf of Creditor Spadafore Distributing Company awolanin@fraserlawfirm.com

Anthony James Miller
                                on behalf of Trustee Kenneth Nathan am@osbig.com

Anthony James Miller
                                on behalf of Plaintiff Kenneth Nathan am@osbig.com

Anthony James Miller
                                on behalf of Plaintiff Kenneth Nathan Chapter 7 Trustee am@osbig.com

Ariel M. Olah (UST)
                                on behalf of U.S. Trustee Andrew R. Vara Ariel.Olah@usdoj.gov

David P. Miller
                                on behalf of Plaintiff Kenneth Nathan Chapter 7 Trustee dm@osbig.com

Howard S. Sher
                                on behalf of Defendant Beauty Extra Group LLC howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant Scott Mrdeza howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant Douglas Mrdeza howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant Aliyah Bordayo howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant Raw Apothecary LLC howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant Ryan Mrdeza howard@jacobweingarten.com

Howard S. Sher
                                on behalf of Defendant The Mrdeza Group LLC howard@jacobweingarten.com

Jeffrey H. Bigelman
                                on behalf of Plaintiff Kenneth Nathan jhb_ecf@osbig.com tc@osbig.com;mk@osbig.com

Jeffrey H. Bigelman
                                on behalf of Plaintiff Kenneth Nathan Chapter 7 Trustee jhb_ecf@osbig.com, tc@osbig.com;mk@osbig.com

Kenneth Nathan
                                knathantrustee@nathanlawplc.com MI03@ecfcbis.com

Michael R. Wernette
                                on behalf of Debtor Top Shelf Barber Supplies LLC mike@wernetteheilman.com tonia@wernetteheilman.com

Scott Kwiatkowski
                                on behalf of Creditor The Monrovia Group LLC scott@bk-lawyer.net

Shanna Marie Kaminski
                                on behalf of Defendant Best Seller Inc. skaminski@kaminskilawpllc.com

Yuliy Osipov
                                on behalf of Trustee Kenneth Nathan yotc_ecf@yahoo.com yo_ecf@osbig.com;tc_ecf@osbig.com

Yuliy Osipov



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Date Rcvd: Mar 29, 2024                                   Form ID: ntctfclm                                                  Total Noticed: 54
                          on behalf of Plaintiff Kenneth Nathan yotc_ecf@yahoo.com yo_ecf@osbig.com;tc_ecf@osbig.com

Yuliy Osipov
                          on behalf of Plaintiff Kenneth Nathan Chapter 7 Trustee yotc_ecf@yahoo.com, yo_ecf@osbig.com;tc_ecf@osbig.com


TOTAL: 22




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